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   UNITED STATES BANKRUPTCY COURT
   DISTRICT OF NEW JERSEY
   PDF FILE WITH AUDIO FILE ATTACHMENT

         2022-19361
         BlockFi Inc.



         Case Type :                    bk
         Case Number :                  2022-19361
         Case Title :                   BlockFi Inc.

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